         Case 1:21-cv-00840-RP Document 35-1 Filed 11/01/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

NETCHOICE, LLC d/b/a NetChoice,           )
a 501(c)(6) District of Columbia organization,
                                          )
                                          )
                     and                  )
                                          )
COMPUTER & COMMUNICATIONS                 )
INDUSTRY ASSOCIATION d/b/a CCIA, a        )
501(c)(6) non-stock Virginia Corporation, )      Civil Action No. 1:21-cv-00840-RP
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )
                                          )
KEN PAXTON, in his official capacity as   )
Attorney General of Texas                 )
                                          )
       Defendant.                         )
_________________________________________ )



                        Exhibit J –
                      Further Counsel
                      Correspondence
                 Case 1:21-cv-00840-RP Document 35-1 Filed 11/01/21 Page 2 of 2




From:                           Courtney Corbello <Courtney.Corbello@oag.texas.gov>
Sent:                           Monday, November 1, 2021 12:12 PM
To:                             Todd Disher
Cc:                             Scott Keller; Matt Frederick; Benjamin Lyles; Christopher Hilton; Benjamin Walton;
                                Thomas Ray
Subject:                        RE: Activity in Case 1:21-cv-00840-RP NetChoice LLC et al v. Paxton Order on Motion to
                                Expedite



Todd,

No thank you.

Could you please send along Plaintiffs’ proposed changes, if any, to the protective order draft we sent over
last week? I’d like to get that filed tomorrow so the Court has time to rule on it before depositions happen.

Can you also send the proposed dates and times for each of the depositions by tomorrow? We will need time
to schedule travel.

                  Courtney Corbello | Assistant Attorney General | General Litigation Division
                               MC-019, PO Box 12548 | Austin, TX 78711-2548
                 512.463.2120 | Fax: 512.320.0667| email: courtney.corbello@oag.texas.gov |

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 Government Code sections 552.101, 552.103, 552.107 and 552.111, and should not be disclosed without the
                             express authorization of the Attorney General.

From: Todd Disher <todd@lehotskykeller.com>
Sent: Monday, November 1, 2021 9:37 AM
To: Courtney Corbello <Courtney.Corbello@oag.texas.gov>
Cc: Scott Keller <scott@lehotskykeller.com>; Matt Frederick <matt@lehotskykeller.com>; Benjamin Lyles
<Benjamin.Lyles@oag.texas.gov>; Christopher Hilton <Christopher.Hilton@oag.texas.gov>; Benjamin Walton
<Benjamin.Walton@oag.texas.gov>; Thomas Ray <Thomas.Ray@oag.texas.gov>
Subject: Re: Activity in Case 1:21-cv-00840-RP NetChoice LLC et al v. Paxton Order on Motion to Expedite

Good morning, Courtney,

To circle back to this, I do know that Facebook would agree to additional document production topics similar
to what Google proposed on Thursday as a way to put an end to our discovery dispute. Please let us know if
you’d like to discuss this proposed solution in exchange for pulling down the subpoenas that are now the
subject of Plaintiffs’ motion for protective order.

Todd

Todd Disher | LEHOTSKY KELLER | todd@lehotskykeller.com


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